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                 UNITED STATES DISTRICT COURT

                SOUTHERN DISTRICT OF GEORGIA

                        STATESBORO DIVISION



BOB AARON MIKELL                       )

v.                                     )   Case No. CV609-065
                                       )            CR606-026
UNITED STATES OF AMERICA               )

                                  ORDER


      Bob Aaron Mikell's Objection (doc. 106) and latest Fed. R. Civ. P.

60 motion (doc. 107) are OVERRULED and DENIED respectively. The

Court agrees with the Government- "Rule 60 is not a mechanism that

permits litigants to resurrect closed cases just because they belatedly

believe that they should have made a better or different argument.

Mikell's criminal conviction is final, his § 2255 motion has been denied

for years, and this Court's judgment should remain undisturbed." Doc.

108 at 3.


      SO ORDERED this /ffjfctv of May, 2016.


                             ,     J. RANDAkflLALL
                                   UNITED/ STATES DISTRICT JUDGE
                                   SOUTHERN DISTRICT OF GEORGIA
